                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Anthony Javon Smith                                                Docket No. 7:17-CR-125-lD

                               Petition for Action on Supervised Release

COMES NOW J. Brock Knight, U.S. Probation Officer of the court, presenting a petition for modification
of the Judgment and Commitment Order of Anthony Javon Smith, who, upon an earlier plea of guilty to
Distribution and Possession With Intent to Distribute a Quantity of Heroin 21 U.S.C. § 84l(a)(l), 21 U.S.C.
§ 84l(b)(l)(C), was sentenced by the Honorable James C. Dever III, U.S. District Judge, on July 11, 2018,
to the custody of the Bureau of Prisons for a term of 24 months. It was further ordered that upon release
from imprisonment the defendant be placed on supervised release for a period of 36 months.

Anthony Javon Smith was released from custody on August 20, 2019, at which time the term of supervised
release commenced.

On March 4, 2020, a violation report was submitted to the Court advising that Smith had provided a positive
urinalysis screening. At that time, supervision was permitted to continue.

On March 17, 2020, a violation report was submitted to the Court advising that Smith had provided a
positive urinalysis screening and failed to follow the instructions of the probation officer. Supervision was
permitted to continue.

On May 11, 2020, a violation report was submitted to the Court advising that Smith was arrested for criminal
conduct. It was recommended that the Court take no action pending disposition of the case and the Court
agreed.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On September 1, 2020, Smith reported he has not resided at his approved home for several weeks.
Therefore, Smith violated his supervision by failing to notify the probation officer ten days prior to any
change in residence.

Due to drug use, Smith was referred to Coastal Horizons for substance abuse treatment. Smith was referred
to complete two individual counseling sessions per month. According to his treatment counselor, Smith has
not attended a session or made contact with her since June 19, 2020.

Between July 31, 2020, and September 1, 2020, the probation office made multiple attempts to contact
Smith through contacting his known family and friends and visiting his last known residence. On August
28, 2020, a letter was left at Smith's last known residence directing him to contact the Probation Office by
August 31, 2020. During this period, Smith failed to contact the probation office as directed and as required
by the conditions of his term of supervised release.

Smith will remain in the Surprise Urinalysis Testing program, has been instructed to resume substance
abuse treatment, and will be subjected to continued cognitive behavioral techniques to address his
noncompliance. As a sanction for the above violations, it is recommended that Smith be placed on a 30-day
term of location monitoring curfew.



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The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

   1. The defendant shall adhere to a curfew as directed by the probation officer for a period not to exceed
      30 consecutive days. The defendant is restricted to his residence during the curfew hours. The
      defendant shall submit to the following Location Monitoring: Radio Frequency monitoring and
      abide by all program requirements, instructions and procedures provided by the supervising officer.
      The defendant must pay all of the cost of the program.



Except as herein modified, the judgment shall remain in full force and effect. '

Reviewed and approved,                                I declare under penalty of perjury that the foregoing
                                                      is true and correct.


Isl David W. Leake                                    Isl J. Brock Knight
David W. Leake                                        J. Brock Knight
Supervising U.S. Probation Officer                    U.S. Probation Officer
                                                      414 Chestnut Street, Suite 102
                                                      Wilmington, NC 28401-4290
                                                      Phone:910-679-2034
                                                      Executed On: September 15, 2020

                                       ORDER OF THE COURT

Considered and ordered this      I8      day of   j°'f',k M. b.v-.,         , 2020, and ordered filed and
made a part of the records in the above case.

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Ja s C. Dever III
U.~. District Judge




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